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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     *

               v.                            *              Case No.-21-CR-708(RCL)

   LEO KELLY,                                *

                      Defendant              *

       *       *      *       *       *      *       *      *       *       *      *

                                          NOTICE OF FILING

       The Defendant, LEO KELLY, by and through his counsel, Kira Anne West, hereby files this

notice of filing of 3 exhibits that were not attached to the motion for change of venue, ECF No. 48,

previously filed on November 15, 2022. The exhibits are attached to this notice of filing.


                                             Respectfully submitted,


                                             _________/s/________________________
                                             Kira Anne West
                                             712 H Street NE
                                             Suite 509
                                             Washington, D.C. 20001
                                             D.C. Bar No. 993523
                                              (202) 236-2042
                                             kiraannewest@gmail.com
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                                       CERTIFICATE OF SERVICE


         I swear that on November 18th, 2022 a copy of this notice and 3 exhibits were filed via the ECF and
rules of this Court.

                                                                        ________/s/________________
                                                                        Kira A. West




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